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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

             Plaintiffs/Counterclaim
             Defendants,

      v.                                              Case No. 1:21-cv-02130-CJN

HERRING NETWORKS, INC., et al.,

             Defendants/Counterclaim
             Plaintiffs/Third-Party Plaintiffs,       Judge Carl J. Nichols

      v.

AT&T SERVICES, INC., et al.,

      Third-Party Defendants.


              HERRING PARTIES’ RESPONSE IN OPPOSITION TO
           DOMINION PARTIES’ MOTION FOR CONSOLIDATION AND
            FOR ENTRY OF THEIR PROPOSED SCHEDULING ORDER




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         Herring Networks, Inc., d/b/a One America News Network (“OAN”), Charles Herring,

Robert Herring, Sr., and Chanel Rion (collectively, the “Herring Parties”)1 hereby submit their

Response in Opposition to the Motion for Entry of [Plaintiffs’] Scheduling Order & Consolidation

(the “Motion”) (Dkt. No. 86) filed by U.S. Dominion, Inc., Dominion Voting Systems, Inc., and

Dominion Voting Systems Corporation (collectively, the “Dominion Parties”).2

                                     I.     INTRODUCTION

         The Dominion Parties filed this lawsuit on August 10, 2021, six to seven months after they

filed three of the cases (“Early Cases”) they seek to consolidate with this one for purposes of

discovery.3 Each of the Early Cases and Byrne have had a case management order in place for

well over a year, but this case does not yet have any such order. The Herring Parties submitted a

proposed schedule on February 28, 2023 (Dkt. 72) (“Feb. 28 Proposal”) one month after they

answered the Complaint on January 20, 2023 (Dkt. 59). For the Court’s convenience, we attach

the Feb. 28 Proposal as Exhibit 1. The Herring Parties’ Amended Counterclaim / Third Party

Complaint (Dkt. 85) was filed on May 4, 2023. Responsive pleadings to the Amended

Counterclaim / Third Party Complaint are due on June 20, 2023, and we anticipate motions to

dismiss under Rule 12(b) will be filed (two such motions have already been filed by Dominion

and Staple Street, see Dkt. 99, 100 (memorandums in support of the motions).


1
 The Herring Parties are the Defendants, Counterclaim Plaintiffs, and Third-Party Plaintiffs in this
case. Another Defendant, Christina Bobb, is separately represented.
2
    The Dominion Parties are the Plaintiffs and Counterclaim Defendants in this case.
3
  Those cases are: US Dominion, Inc., et al. v. Powell, et al., No. 1:21-cv-000040 (CJN), filed on
January 8, 2021 (“Dominion v. Powell”); US Dominion, Inc., et al. v. Giuliani, No. 1:21-cv-00213
(CJN), filed on January 25, 2021 (“Dominion v. Giuliani”); and US Dominion, et al. v. My Pillow,
Inc., et al., No. 1:21-cv-00445 (CJN), filed on February 22, 2021 (“Dominion v. My Pillow”). A
fourth case, US Dominion, Inc. et al. v. Byrne, No. 1:21-cv-2131 (CJN) (“Dominion v. Byrne”)
was filed on the same day that the Herring Parties were sued. Collectively, these four cases will
be referred to as the “Other Cases.”

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       By contrast, Answers were filed in the Early Cases more than a year prior to the Answers

in this case: Powell answered on September 24, 2021; Giuliani answered on August 25, 2021; and

My Pillow answered on December 2, 2021. Document production in those cases is well underway

but has barely begun in this case, and there has been no discovery of any sort on the counterclaims

and third-party claims at issue here. We also understand that certain discovery agreements have

been made among parties to the Early Cases although the Herring Parties obviously were not

included in those negotiations or agreements.

       The February 28 Proposal was made to accommodate the discovery needs of this case and

did not account for the requirements or agreements of the parties in the Early Cases and Byrne.

We frankly can see how the Early Cases might benefit from discovery consolidation to which, we

understand, at least some have agreed. But we see no benefits for this case and many practical

problems that will likely result in the Court having to resolve even more discovery disputes down

the road. We submit just one example: Dominion’s CEO is John Poulos. The Federal Rules permit

a deposition of him on one day for seven hours unless otherwise stipulated or ordered by the Court.

Fed. R. Civ. P. 30(d)(1). Given that the Dominion Parties demand damages from the Herring

Parties and Ms. Bobb “jointly and severally” in the amount of $1,601,300,000 plus “general

compensatory damages,” punitive damages and interest, costs, expenses, and attorneys’ fees,

Defendants in this case should be permitted at least one seven-hour day to conduct a deposition of

this key witness.

       But do the defendants from the Early Cases each get a day or do we have to share the day?

If they each get a day who goes first and what then has consolidation achieved in any event? And

this problem would not be limited to just Mr. Poulos. We predict the Court might be required to

resolve these and other similar issues if consolidation were ordered, rendering that path less




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efficient, not more. Consolidation of this case should thus be denied and the February 28 Proposal

should be entered so we can prepare this case for trial in an orderly way.

                                      II.     ARGUMENT

A.     The Court should adopt the Herring Parties’ proposed scheduling order submitted
       on February 28, 2023.

       The Herring Parties submitted the February 28 Proposal over three months ago and have

been working diligently to meet their deadlines since then, even amidst a change of counsel. But

the Dominion Parties’ request seeks to compress the Herring Parties’ sensible deadlines for no

good reason.     Having just settled their defamation claim against Fox News for nearly

$800,000,000,4 one can understand why the Dominion Parties are eager for more money (although

not entitled and unlikely to get it from us). And because the Dominion Parties completed much of

their document collection and production in the Fox Case, they are better able to comply with an

expedited discovery schedule than are the Herring Parties. But that tactical advantage and

eagerness to pursue more damages from this smaller conservative news channel (which has lost

much of its channels of distribution because of the bad acts of the Dominion Parties and others)

are not grounds for the aggressive schedule they suggest.

       The Herring Parties’ proposal is logical here since the parties have not engaged in any

meaningful discovery. Only recently have the parties exchanged requests for production of

documents. The parties have not engaged in the complex tasks of identifying custodians,

proposing search terms for ESI discovery, agreeing to a protective order, or even discussing

availability for witness depositions. Indeed, the parties have not even exchanged Rule 26 initial

disclosures. The Dominion Parties, despite having their documents readily available, have yet to


4
 US Dominion, Inc., et al. v. Fox News Network, LLC, et al., No. N21C-03-257 (EMD) (“Fox
Case”).


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make a production of documents. The Complaint in this matter is simply too massive to justify

Dominion’s request that fact discovery be conducted on an expedited schedule.

       In addition, the Dominion Parties’ schedule—with a September 5, 2023 deadline for

serving document requests and a January 22, 2024 deadline for completing fact discovery—does

not provide sufficient time for addressing motions to dismiss from the Dominion Parties and Third-

Party Defendants. The Dominion Parties and the Third-Party Defendants likely will file several

motions, including Rule 12(b) motions, relating to the Herring Parties’ Claims.5 Because these

motions will require extensive briefing, it is inefficient to require such short discovery deadlines

contemporaneous with that briefing.

       The Dominion Parties also seek to effectively put this case on two different tracks: one

dealing with the Dominion Parties’ claims and one dealing with the Herring Parties’ Claims. Such

a split would prejudice the Herring Parties and would not result in judicial efficiencies. The

Dominion Parties stated in the Rule 16.3 Report that they believe discovery on the Herring Parties’

counterclaims should wait until after the Court decides their forthcoming motion to dismiss, which

is likely to occur at least a few months down the road. (Dkt. No. 72 at 18.) The counterclaims

involve the same subject matter as the Dominion Parties’ claim—breaches of, and tortious

interference with, a contract in direct response to OAN’s coverage of the 2020 U.S. presidential

election. Given the significant overlap between the claims and counterclaims, the parties should

take discovery on all claims and defenses at the same time. The Dominion Parties’ proposal is too

truncated to allow for simultaneous discovery on the claims and counterclaims. It is even less




5
  Indeed, on June 16, 2023, both Staple Street Capital (Dkt. No. 100) and Dominion (Dkt. No. 99)
filed 12(b) motions to dismiss.


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appropriate for the Court to adopt the Dominion Parties’ proposed schedule if the discovery

periods are to run at least somewhat consecutively.

       In addition, while not apparent on the face of the Motion and, perhaps, unintended, the

Dominion Parties’ proposed schedule would have the effect of forcing the Herring Parties to

litigate simultaneously all pre-trial matters in this case and Smartmatic USA Corp., et al. v. Herring

Networks, Inc., d/b/a One America News Network, No. 1:21-cv-002900 (the “Smartmatic

Litigation”). The similarities are shown in the chart attached as Exhibit 2, which compares the

scheduling order entered in the Smartmatic Litigation to the Dominion Parties’ proposal. It shows

significant overlap in deadlines regarding dispositive motions. Smartmatic wants even more

billions in damages than Dominion. Setting this case on the same pre-trial track as the Smartmatic

Litigation would force OAN and its counsel into litigating two very large and complex cases at the

same time. Such a result would be prejudicial and unjustified.

       The Herring Parties ask the Court to enter the scheduling order it previously submitted in

the Joint Meet and Confer Report Under Local Rule 16.3, Docket No. 72. For the Court’s

convenience, we have reproduced the proposal as Exhibit 1. This proposal is specific to this action

and reflects the complexities of this particular lawsuit, including the counterclaims and third-party

claims. It allows briefing and a ruling on the Dominion Parties’ and Third-Party Defendants’

motions to dismiss well before the close of fact discovery so that the parties have sufficient time

to conduct discovery on all claims and defenses.6




6
  In the alternative, the Court should stay discovery on all parties’ claims until the Court rules upon
the Dominion Parties’ and the Third-Party Defendants’ motions to dismiss to allow the parties to
conduct discovery efficiently on all claims and defenses at the same time.


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B.       The Court should deny the Dominion Parties’ Motion to Consolidate this case with
         the Other Cases for discovery.

         Under Federal Rule of Civil Procedure 42(a), if multiple actions before a district court

“involve a common question of law or fact, the court may: (1) join for hearing or trial any or all

matters at issue in the actions; (2) consolidate the actions; or (3) issue any other orders to avoid

unnecessary cost or delay.”7 In addressing a motion to consolidate, a district court should consider

factors including: (i) whether consolidation would result in confusion or prejudice; (ii) whether

consolidation would promote judicial efficiency in light of the procedural posture of the actions;

and (iii) whether the actions involve common questions of law or fact.8

         1.      The Court should not consolidate this case with the Other Cases because
                 consolidation would unfairly prejudice the Herring Parties.

         Consolidating this case and the Other Cases for discovery purposes would unnecessarily

accelerate this case by forcing it onto the same discovery schedule as cases filed up to seven

months earlier. Moreover, in the Other Cases, discovery issues exist that are not present in this

case: the parties already negotiated many discovery-related issues without the Herring Parties’

involvement or considering their interests or obligations in arriving at their stipulated amended

scheduling order (to which, we understand, Byrne did not agree), and the parties have been

engaged in discovery for many months longer than the parties in this case. Requiring the Herring

Parties to complete fact discovery on a timeline established at the request of parties who had




7
  United States v. Retsel Corp., 2023 WL 2019311, at *1-2 (D.S.D. Feb. 15, 2023) (applying Rule
42 to a motion to consolidate for discovery only). A district court has broad discretion in addressing
a motion to consolidate. Stewart v. O’Neill, 225 F. Supp. 2d 16, 21 (D.D.C. 2002).
8
    See id.; Klayman v. Judicial Watch, Inc., 255 F. Supp. 3d 161, 174-75 (D.D.C. 2017).


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already engaged in many months of discovery would unfairly prejudice the Herring Parties and

requires denial of the Motion.

       First, any acceleration of deadlines would prejudice the Herring Parties given the sheer

breadth of the Complaint in this case. It seeks $1.6 billion in compensatory damages and pleads

more than 330 paragraphs of allegations. (Dkt. No. 1.) This imposes a significant defensive and

discovery burden on the Herring Parties and warrants the Court allowing significant time to

conduct discovery on the Dominion Parties’ allegations. The Herring Parties’ proposal does just

that (establishing a May 30, 2024 deadline), while the Dominion Parties’ request of a January 22,

2024 deadline does not.

       Second, the Other Cases raise various discovery issues that are not present in this case. For

example, Mr. Giuliani asserted in the Rule 16.3 report in Dominion v. Giuliani that he lacked

access to a significant amount of electronic files because those files were seized by the FBI.

(Dominion v. Giuliani, Dkt. No. 45 at 15.) That Rule 16.3 report also indicated that My Pillow,

Inc. has attempted to file interlocutory appeals of certain orders of the Court. (Id. at 15-16.) As

these issues do not involve this action or the Herring Parties, consolidating this case with the Other

Cases might prejudice the Herring Parties if their discovery is bogged down in disputes among

other parties which would, of course, significantly increase the already burdensome costs of

litigation suffered by the Herring Parties.9

       Third, consolidating this case would unfairly prejudice the Herring Parties because the

Dominion Parties seek to force upon the Herring Parties stipulations, agreements, and conditions

from the Other Cases for which the Herring Parties had no involvement in negotiating. As an


9
  See Barrios v. Elmore, 2018 WL 3636576, at *3 (W.D. Ky. July 31, 2018) (declining to
consolidate where only one party was involved in both cases and the other parties would “suffer
prejudice in the form of additional costs” due to additional discovery and hearings).


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example, the Court entered a Protective Order in the Other Cases that bars the use of any discovery

material produced in the litigation outside of the Other Cases. (See Dominion v. Giuliani, Dkt.

No. 51, ¶ 1.) Further, the Protective Order includes certain exemptions to this prohibition that

benefit the Dominion Parties by allowing them to produce discovery material in their lawsuit

against Newsmax. But the Protective Order would needlessly (and inefficiently) prevent OAN

from using non-confidential discovery in the Smartmatic Litigation. Of course, the Herring Parties

could attempt to negotiate a modified protective order to address these concerns, but that would

involve unnecessary expense to the parties and take up the time of the Court (in the absence of

agreement).

       Finally, discovery in the Other Cases is significantly more advanced than discovery in this

case. Again, while this case lacks an initial scheduling order, the Other cases have been operating

under scheduling orders and their accompanying deadlines for over a year. Orders have been in

place since November 15, 2021 (Giuliani), March 1, 2022 (Powell and My Pillow), and June 6,

2022 (Byrne).10 Forcing the Herring Parties to play “catch-up” with the Other Cases creates an

unfair burden that the Dominion Parties cannot justify. They cannot do so because the Dominion

Parties created this situation by filing these lawsuits on the dates they chose.

       2.      The Court should not consolidate this case with the Early Cases because the
               Early Cases are in a different procedural posture.

       Throughout their Motion, the Dominion Parties largely ignore the differences in the status

of discovery between this case and the Other Cases. As federal courts have recognized, differences

in the procedural posture of cases weigh against consolidation.11


10
  The scheduling orders set a September 5, 2023 deadline for issuing document requests and a
deadline of January 22, 2024, for the completion of all discovery. See Exhibits 3 and 4.
11
  See, e.g., Stewart, 225 F. Supp. 2d at 21. “[T]he district court may deny consolidation when one
of the actions has proceeded further in the discovery process than the other.” Sancom, Inc. v. Qwest


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       Here, each of the Early Cases has progressed much further than this case, both in terms of

the time the parties have had to take discovery, as well as the amount of discovery actually

completed to date. Notably, Dominion v. My Pillow, Dominion v. Powell, and Dominion v.

Giuliani were each filed in January or February 2021, approximately six to seven months before

the Dominion Parties filed this case. The parties in the Early Cases filed their Rule 16.3 reports in

January 2022 and June 2022, approximately 13 months and 8 months, respectively, before the

parties filed the Rule 16.3 Report in this case. (Dominion v. Giuliani, Dkt. No. 45; Dominion v.

Byrne, Dkt. No. 39.) As such, the parties in the Other Cases, including Dominion, have had

substantially more time than the Herring Parties to conduct discovery.

       In stark contrast to the Other Cases, the parties in this case have not engaged in meaningful

discovery. Courts facing similar situations have denied requests to consolidate.12

       The difference in the status of discovery between this case and the Other Cases is no

accident. The Dominion Parties filed all but one of the Other Cases, as well as lawsuits against

Fox News and Newsmax, many months before filing this lawsuit. One of the Dominion Parties’

lead attorneys recently explained in a public interview that they put together an analysis of “who

do we sue, where do we sue and in what order” before adopting the strategy of filing “multiple

cases in multiple jurisdictions.” See Foundation for Individual Rights and Expression, First


Communications Corp., 2009 WL 10722421 at *1 (D.S.D. Mar. 9, 2009) (quoting 9A Charles
Alan Wright & Arthur R. Miller, Federal Practice & Procedure § 2383 (2008)).
12
   See, e.g., Stewart, 225 F. Supp. 2d at 21 (declining to consolidate where “substantial discovery”
had taken in place in one case but not the other); Stewart v. Whitcap Investment Corp., 2012 WL
4891726, at *2 (D.V.I. Oct. 16, 2012) (declining to consolidate because the movant failed to meet
its burden to show judicial economy because discovery in one case had progressed further than in
the other case); J4 Promotions, Inc. v. Splash Dogs, LLC, 2010 WL 3063217, at *2 (S.D. Ohio
Aug. 3, 2010) (declining to consolidate where one case had a deadline to complete discovery and
no such deadline existed in the other case); Sancom, Inc., 2009 WL 10722421, at *1-2 (declining
to consolidate where certain cases did not have a scheduling order but another case had discovery
deadlines that were upcoming or had already passed).


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Amendment Salon: Dominion vs. Fox lawyers reflect on historic case, YouTube (May 15, 2023),

at 4:20–5:10, https://www.youtube.com/watch?v=6035sEv0c0o.              Had the Dominion Parties

wanted this case and the Other Cases to be treated as one, they could have filed one lawsuit.

       As part of their “strategy,” however, the Dominion Parties not only filed separate lawsuits

but also separated the filings by more than six months and then waited more than two years after

their first lawsuits were filed before seeking to consolidate this case and the Other Cases for

discovery purposes and dispositive motions. The Court should hold the Dominion Parties to that

choice rather than permitting the Dominion Parties to unfairly impede the Herring Parties’

defensive efforts out of alleged convenience for the Dominion Parties.13

       The Motion also states that Herring Parties are “the only set of defendants” to oppose

consolidation for discovery purposes. (Mot. at 4.) That may be true as to the Early Cases but not

as to Byrne (filed the same day as this case). In Dominion v. Byrne, Mr. Byrne opposed

consolidation. (Dominion v. Byrne, Dkt. No. 39 at 7.) In addition, by asserting that the Herring

Parties are the only parties objecting to consolidation, the Dominion Parties ignore that the Third-

Party Defendants14 take no position on the Motion “because their upcoming motions to dismiss

have not yet been decided.” (Mot. at 2.) The fact that the Third-Party Defendants believe it is

premature to even take a position on consolidation of this case is further proof that this case differs

procedurally from the Other Cases.




13
  See Waiters v. Sci. Applications Int’l, 2020 WL 12765188, at *2 (D.S.C. July 17, 2020) (denying
a motion to consolidate for purposes of discovery, mediation, and motions where the plaintiff filed
each of its cases as separate actions and waited more than two years before seeking consolidation).
14
  Staple Street Capital LLC and AT&T Services, Inc. are “Third-Party Defendants.” On June 16,
2023, the Herring Parties filed a notice voluntarily dismissing without prejudice Third-Party
Defendant William Kennard.


                                                  10
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       3.      Consolidation is inappropriate because this case involves different factual
               and legal issues not present in the Other Cases.

       The Court also should deny the Motion because this case involves several key factual and

legal issues not present in the Other Cases. Notably, the Motion points to only one paragraph

(Complaint ¶ 305) of allegedly overlapping facts (Mot. at 4) in a Complaint that exceeds 300

paragraphs. As an example of the disparate facts, in this case, the Herring Parties’ filed claims

against the Dominion Parties and the Third-Party Defendants for tortious interference and/or

contractual indemnity involving a contract that is not at issue in the Other Cases. (Dkt. No. 85.)

As such, additional discovery regarding Herring Parties’ Claims will need to take place, further

warranting a discovery schedule that is not rushed.15 The mere existence of the third-party claims

justifies denying the request to consolidate.16

       The Herring Parties also have defenses to and/or privileges implicated by the Dominion

Parties’ claims that will likely play a far less significant role in the Other Cases (if they play any

role at all). For example, the Herring Parties have asserted the fair report privilege, which may

create additional discovery issues unique to this case.17 Accordingly, the Court should decline to

consolidate this case for discovery purposes.18


15
  See Retsel Corp., 2023 WL 2019311, at *2 (denying a motion to consolidate for discovery
purposes because counterclaims pending in only one of the cases would require the parties “to
engage in discovery that likely will differ in length of time needed [and] avenues of inquiry and
witnesses”).
16
  See Synovus Bank v. Coleman, 2012 WL 178361, at * 1 (W.D.N.C. Jan. 23, 2012) (declining to
consolidate where multiple counterclaims and third-party claims were filed).
17
   See, e.g., Shipkovitz v. The Washington Post Co., 571 F. Supp. 2d 178, 185-86 (D.D.C. 2008)
(recognizing the fair report privilege).
18
   See Olaplex LLC v. Groupon, Inc., 2019 WL 9042542, at *1 (C.D. Cal. Apr. 19, 2019) (“Even
where claims are identical, distinct underlying facts may give rise to different defenses and legal
issues, which would weigh against consolidation.”); De La Fuente v. DNC Servs. Corp., 2019 WL
1778948, at *12 (D.D.C. Apr. 23, 2019) (declining to consolidate where the “causes of action
turn[ed] on facts unique to each plaintiff”).


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                                     III.     CONCLUSION

       The Herring Parties respectfully request that the Court enter an Order:

       (1)    denying the Dominion Parties’ Motion in its entirety;

       (2)    declining the Dominion Parties’ request to consolidate this case with the

              Other Cases for discovery or any other purpose;

       (3)    entering the Herring Parties’ proposed updated scheduling order set forth in

              Exhibit 1 hereto; and

       (4)    granting such other, further and additional relief in favor of the Herring

              Parties and against the other parties in this case as the Court deems fair, just,

              and equitable.

Dated: June 19, 2023                        By: /s/ Jonathan D. Neerman
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                                                RION




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of June 2023, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the current parties of record.


                                                         /s/ R. Trent McCotter
                                                         R. Trent McCotter




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1. Herring Parties’ Proposed Scheduling Order filed February 28, 2023 (Dkt. No. 72-2).

2. Comparison Chart: Scheduling Order entered in the Smartmatic Litigation v. Dominion
   Parties’ proposal.

3. Byrne Amended Scheduling Order.

4. Giuliani, Powell, and My Pillow Amended Scheduling Order.




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